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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                     Case No. 21-cr-173 (WMW/DTS)

      Plaintiff,
                                              ORDER TO UNSEAL
v.

Anton Joseph Lazzaro (1) and
Gisela Castro Medina (2),

      Defendants.


      The Government filed a motion to unseal this matter. Based on the record,

proceedings, and for good cause shown; IT IS HERE BY ORDERED: the motion (Dkt.

No. 35) is GRANTED, and the case, including the Indictment, shall be unsealed.



Dated: September 7, 2021                      ____s/David T. Schultz______
                                              DAVID T. SCHULTZ
                                              United States Magistrate Judge
